Case 17-69050-lrc       Doc 16     Filed 12/29/17 Entered 12/29/17 09:56:44            Desc Main
                                   Document      Page 1 of 5


                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

 IN RE                                       :   CHAPTER 13
                                             :
 CHESTER PAUL RAMAGOS AND                    :   CASE NO. 17-69050-LRC
 DANA LATRICE RAMAGOS,                       :
                                             :
       Debtors.                              :
                                             :
 ________________________________            :
 CAPITAL ONE AUTO FINANCE, A                 :
 DIVISION OF CAPITAL ONE, N.A.,              :
                                             :
       Movant,                               :   CONTESTED MATTER
                                             :
 v.                                          :
                                             :
 CHESTER PAUL RAMAGOS AND                    :
 DANA LATRICE RAMAGOS,                       :
 Debtors;                                    :
 and MELISSA J. DAVEY, Trustee,

       Respondents.

               OBJECTION TO CONFIRMATION OF CHAPTER 13 PLAN

       COMES NOW Capital One Auto Finance, a division of Capital One, N.A. (the
"Movant"), a creditor of the referenced Debtors, and hereby moves this Court to deny
confirmation of Debtors' Chapter 13 Plan. In support of its objection, the Movant shows the
Court as follows:
                                                 1.
       On November 1, 2017, Chester Paul Ramagos and Dana Latrice Ramagos ("Debtors")
filed a Voluntary Petition pursuant to 11 U.S.C. Section 1301 et seq., and said case is presently
pending before this Court.
                                                 2.
       Movant has a net claim in this case in the amount of $18,612.15 secured by a 2013
Chevrolet Malibu VIN 1G11B5SAXDF332590 (the "Collateral") titled in the name of Debtor
Case 17-69050-lrc       Doc 16     Filed 12/29/17 Entered 12/29/17 09:56:44           Desc Main
                                   Document      Page 2 of 5


Chester Paul Ramagos and a nonfiling Codebtor Evelyn F. Hudson.
                                                3.
         This is Debtors’ second Chapter 13 bankruptcy case. Debtors’ first case, Case No. 14-
63739-lrc, was filed July 16, 2014, and dismissed November 1, 2017, the very same day of the
filing of the instant case. In the first case, Movant’s claim was allowed in full as a 910-claim.
Because of the repeat filing the same day as the dismissal, Debtors are proposing a severe
value cramdown of Movant’s claim.
                                                4.
         Debtors’ proposed Chapter 13 Plan provides for payment to the Chapter 13 Trustee of
$1,250.00 per month. Of the available funds, Debtors’ attorney has proposed receipt of
$1,067.00 per month (approximately 92% of available funds), leaving very little to Movant on
its claim. The plan proposes to Movant just $26.00 per month in preconfirmation payments,
then $26.00 per month postconfirmation, stepping to $160.00 per month not until September
2018, to Movant. Furthermore, the plan proposes an interest rate of 4.25% which is just the
prime rate with no risk factor.
                                                5.
         The proposed plan values the Collateral at only $7,400.00. The NADA retail value of
the Collateral is $10,200.00. The plan should not be confirmed without proposing a value to
Movant of at least $10,200.00.
                                                6.
         The proposed plan is not Till-compliant. There is no risk factor proposed despite the
fact that Debtors are repeat filers and they are proposing to maintain three vehicles with
concomitant insurance. The plan should not be confirmed without an interest rate of at least
7.25% on Movant’s allowed secured claim.
                                                7.
         Based on the depreciation in value of the Collateral from December 2016 (NADA
$11,950.00) to December 2017 (NADA $10,200.00), the monthly depreciation is at least
$145.84 per month. The plan should not be confirmed unless it provides at least $145.84 per
month in preconfirmation and postconfirmation payments to Movant on it allowed secured
claim.
Case 17-69050-lrc       Doc 16      Filed 12/29/17 Entered 12/29/17 09:56:44             Desc Main
                                    Document      Page 3 of 5


                                                  8.
       Any further increase in plan payments does not appear feasible. This case is not
feasible in contravention of 11 U.S.C. §1325(a)(6).
                                                  9.
       There is a nonfiling Codebtor on the loan obligation and title to the Collateral. Codebtor
resides in Fayetteville, North Carolina per Debtors’ schedules. The Collateral is not necessary to
a reorganization in prospect. It does not appear that Debtors wish to pay Movant’s claim in full
to protect the nonfiling Codebtor. The contractual interest rate is 15.93%. The claim should be
paid in full with contractual interest, or the Collateral should be surrendered as a part of
confirming the plan. Otherwise, this plan has been filed in bad faith in violation of 11 U.S.C.
1325(a)(3).
        WHEREFORE, the Movant prays that its Objection to Confirmation of Chapter 13 Plan
be inquired into and sustained and that it has such other and further relief as this Court deems
just and proper.
       This December 29, 2017.

                                          The Law Office of
                                          LEFKOFF, RUBIN, GLEASON & RUSSO, P.C.
                                          Attorneys for Movant


                                          By:__/s/Craig B. Lefkoff
                                                 Craig B. Lefkoff
                                                 Georgia State Bar No. 445045
5555 Glenridge Connector
Suite 900
Atlanta, Georgia 30342
(404) 869-6900
clefkoff@lrglaw.com
Case 17-69050-lrc      Doc 16      Filed 12/29/17 Entered 12/29/17 09:56:44           Desc Main
                                   Document      Page 4 of 5


                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

 IN RE                                      :   CHAPTER 13
                                            :
 CHESTER PAUL RAMAGOS AND                   :   CASE NO. 17-69050-LRC
 DANA LATRICE RAMAGOS                       :
                                            :
       Debtors.                             :
                                            :
 ________________________________           :
 CAPITAL ONE AUTO FINANCE, A                :
 DIVISION OF CAPITAL ONE, N.A.,             :
                                            :
       Movant,                              :   CONTESTED MATTER
                                            :
 v.                                         :
                                            :
 CHESTER PAUL RAMAGOS AND                   :
 DANA LATRICE RAMAGOS,                      :
 Debtors;                                   :
 and MELISSA J. DAVEY, Trustee,

       Respondents.

                                CERTIFICATE OF SERVICE

       The undersigned, Craig B. Lefkoff, hereby certifies that I am, and at all times hereinafter
mentioned, was more than 18 years of age, and that I served the OBJECTION TO
CONFIRMATION OF CHAPTER 13 PLAN on the following parties 1) electronically, if
allowed by and pursuant to the requirements of local rule, or 2) by depositing same in the United
States Mail in properly addressed envelope(s) with adequate postage to all others, as follows:

Chester Paul Ramagos
Dana Latrice Ramagos
1413 Preston Park Dr
Duluth, GA 30096

Michael Andrew Graves
The Semrad Law Firm, LLC
303 Perimeter Center N Suite 201
Atlanta, GA 30346
Case 17-69050-lrc    Doc 16     Filed 12/29/17 Entered 12/29/17 09:56:44   Desc Main
                                Document      Page 5 of 5


Melissa J. Davey
Chapter 13 Trustee
260 Peachtree Street, NW
Suite 200
Atlanta, GA 30303

      This December 29, 2017.

                                     The Law Office of
                                     LEFKOFF, RUBIN, GLEASON & RUSSO, P.C.
                                     Attorneys for Movant


                                     By:__/s/Craig B. Lefkoff
                                            Craig B. Lefkoff
                                            Georgia State Bar No. 445045
5555 Glenridge Connector
Suite 900
Atlanta, Georgia 30342
(404) 869-6900
clefkoff@lrglaw.com
